AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 1
                                                                                              PageID.283     Page 1 of 8
                                                                                                         Judgment-Page 1 of 8



                                            United States District Court
                                                  Eastern District of Michigan
                    United States of America
                               V.                                     Case Number: 07CR20327-1
                      ROY M. BAILEY                                   USM Number: 42062-039


                                                          AMENDED
                                                  JUDGMENT IN A CRIMINAL CASE
                                           (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: March 9, 2009                              Michael Starr
(or date of Last Amended Judgment)                                    Defendant's Attorney


Reason for Amendment:
   Unopposed Motion Granted by the Court to Modify Judgment and Commitment Order to include a placement
recommendation to the Bureau of Prisons.
   Pleaded guilty to count(s) 4s, 5s, 6s.
Title & Section                      Nature of Offense                                       Offense Ended      Count
See page 2 for details.


  The defendant is sentenced as provided in pages 2 through 8 of this judgment. This sentence is imposed pursuant of the
Sentencing Reform Act of 1984
   IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.


                                                                      April 2, 2009
                                                                      Date of Imposition of Judgment




                                                                     s/Julian Abele Cook, Jr
                                                                    _________________________________________
                                                                     United States District Judge



                                                                      April 2, 2009
                                                                      Date Signed
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 1A
                                                                               PageID.284     Page 2 of 8
                                                                                          Judgment-Page 2 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1

                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                     Nature of Offense                         Offense Ended      Count
18 U.S.C. § 371                     Conspiracy to Defraud the United States   8/03               4s
18 U.S.C. § 4                       Misprision of Felony                      2/04               5s
18 U.S.C. §§ 201 and 371            Conspiracy to Commit Bribery              2006               6s
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 2 - Imprisonment
                                                                                      PageID.285       Page 3 of 8
                                                                                                   Judgment-Page 3 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1

                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 37
months on Counts 4 and 6, each Count, concurrent, and 36 months on Count 5, concurrent to Counts 4 and 6

        See next page for recommendations.

The defendant shall surrender to the United States Marshal for this district, at ___ am/pm on _____.




                                                   RETURN
I have executed this judgment as follows:




Defendant delivered on _______________________________ to _______________________________________ a
__________________________________________, with a certified copy of this judgment.



                                                            _________________________________________
                                                             United States Marshal


                                                            _________________________________________
                                                             Deputy United States Marshal
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 2A - Imprisonment
                                                                                      PageID.286       Page 4 of 8
                                                                                                   Judgment-Page 4 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1

                                             ADDITIONAL IMPRISONMENT TERMS
None




                                                  ADDITIONAL RECOMMENDATIONS
While in custody, the defendant shall participate in the Inmate Financial Responsibility Program. The Court is aware of the
requirements of this program and approves of the payment schedule of this program and hereby orders the defendant's
compliance.

The Court also recommends the defendant be placed in the prison camp at FCI Oxford, or in the absence of available space at the
FCI Oxford camp, at whatever federal prison camp is located in closest proximity to Romulus, Michigan.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 3- Supervised Release
                                                                                         PageID.287        Page 5 of 8
                                                                                                       Judgment-Page 5 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 24 months, each count,
concurrent for Counts 4 and 6, and 1 year on Count 5, concurrent to Counts 4 and 6
   The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.
    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse.
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       The defendant must comply with the standard conditions that have been adopted by this court as well as with any
  additional conditions on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 3C - Supervised Release
                                                                                        PageID.288         Page 6 of 8
                                                                                                        Judgment-Page 6 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1

                                           SPECIAL CONDITIONS OF SUPERVISION
    The defendant shall make monthly payments on any remaining balance of the:fine at a rate and schedule recommended by
  the Probation Department and approved by the Court.
    The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
  officer.
     The defendant shall provide the probation officer access to any requested financial information.
    The defendant shall participate in a program approved by the Probation Department for mental health counseling.            If
  necessary.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 5 - Criminal Monetary Penalties
                                                                                              PageID.289        Page 7 of 8
                                                                                                            Judgment-Page 7 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1

                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 300.00                        $ 30,000.00                          $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      the interest requirement is waived for the fine




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:07-cr-20327-JAC-MKM ECF No. 50 filed 04/02/09
        Sheet 6 - Schedule of Payments
                                                                                                     PageID.290          Page 8 of 8
                                                                                                                     Judgment-Page 8 of 8
DEFENDANT: ROY M. BAILEY
CASE NUMBER: 07CR20327-1

                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
[A] Lump sum payment of $30,000.00 due immediately, balance due in accordance F below.

[F] Special instructions regarding the payment of criminal monetary penalties: Shall be paid in a lump sum amount due
immediately or an amount acceptable to the Court

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
